Case 1:21-cv-01456-GBW Document 152 Filed 10/05/22 Page 1 of 1 PageID #: 6707




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 CBV, INC.,

                                Plaintiff,

                          V.
                                                         C.A. No. 21-1456-GBW
 CHANBOND, LLC, DEIRDRE LEANE,
 and IPNAV, LLC,

                               Defendants.




                                             ORDER


At Wilmington this 5th day of October 2022:

        For the reasons set forth in the Memorandum Opinion issued this day, IT IS HEREBY

ORDERED that Defendants Diedre Leane and IPNAV, LLC ' s Motion for Leave to File a Sur-

Reply in further opposition to Plaintiff CBV, Inc. ' s Motion for Preliminary Injunction (D.I. 70) is

DENIED. Plaintiff CBV, Inc.'s Motion for Preliminary Injunction (D.I. 43) also is DENIED.

        Because the Memorandum Opinion is filed under seal, the parties shall meet and confer

and, no later than October 12, 2022, submit a joint proposed redacted version, accompanied by a

supporting memorandum, detailing how, under applicable law, the Court may approve any

requested redactions. In the absence of a timely, compliant request, the Court will unseal the entire

OplillOn.




                                                                        GREGORYB. WILLIAMS
                                                                          U.S. DISTRICT nJDGE




                                                 17
